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                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


       Baby Doe et al.,

                     Plaintiffs,
                                                          Civil Action No. 3: 22-cv-49
       v.

       JOSHUA MAST et al.,

                     Defendants,
       and

       UNITED STATES SECRETARY OF STATE
       ANTONY BLINKEN et al.,

                    Nominal Defendants.


                                     PROPOSED ORDER

             Having considered Nominal Defendants’ May 10, 2023 Motion to Seal Exhibit

      A, and for good cause shown, and the requirements of Local Civil Rule 9(b) having

      been met, it is hereby ORDERED that Nominal Defendants’ Motion is granted. It is

      further ORDERED that Exhibit A to the Declaration of Frank M. Branch is filed

      under seal.

             SO ORDERED.

             Dated: ___________                      ___________________
                                                     Joel C. Hoppe
                                                     United States Magistrate Judge
